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                    IN THE UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF FLORIDA
                              1:20-CV-24523-KMW

  GILEAD SCIENCES, INC.; GILEAD SCIENCES
  IRELAND UC,

                         Gilead,

        v.

  AJC MEDICAL GROUP, INC.; ALLIANCE
  MEDICAL CENTER, INC.; ALLIED HEALTH
  ORGANIZATION, INC.; BAIKAL MARKETING
  GROUP, INC.; A BETTER YOU WELLNESS
  CENTER, LLC; 3RD STEP RECOVERY
  GROUP, INC. D/B/A CONTINENTAL
  WELLNESS CENTER; COMMUNITY HEALTH
  MEDICAL CENTER LLC; DOCTORS UNITED,
  INC. D/B/A DOCTORS UNITED GROUP;
  FLORIMED MEDICAL CENTER CORP.; JUAN
  JESUS SALINA, M.D. CORP.; LABS4LESS
  LLC; PHYSICIAN PREFERRED PHARMACY,
  INC.; POSITIVE HEALTH ALLIANCE, INC.;
  PRIORITY HEALTH MEDICAL CENTER, INC.;
  TESTING MATTERS INC.; UNITED CLINICAL
  LABORATORY LLC; UNITED PHARMACY
  LLC; WELL CARE LLC; TAMARA ALONSO;
  JEAN ALEXANDRE; CHENARA ANDERSON;
  MYRIAM AUGUSTINE; TWIGGI BATISTA;
  ARSEN BAZYLENKO; MICHAEL BOGDAN;
  BARBARA BRYANT; AUGUSTINE CARBON;
  JENNIFER JOHN CARBON; KHADIJAH
  CARBON; ALEJANDRO CASTRO; JOHN
  CATANO; JEAN CHARLOT; SHONTA
  DARDEN; ALEXANDER EVANS; MARIA
  FREEMAN; JESULA GABO; SHAJUANDRINE
  GARCIA; BARBARA GIBSON; KERLINE
  JOSEPH; VIERGELA JOSEPH; ANDRE KERR;
  GARY KOGAN; CASSANDRA LOUISSAINT;
  CORA MANN; NICK MYRTIL; IFEOMA
  NWOFOR; ERIK JOSEPH PAVAO; WILLIE
  PEACOCK; MICHAEL PIERCE; MICHEL
  POITEVIEN; JEAN RODNEY; TATIANA
  ROZENBLYUM; JUAN JESUS SALINA;
  DIMITRY SHAPOSHNIKOV; ROMAN
  SHEKHET; KIRILL VESSELOV; MIKHAIL
  VESSELOV; TOMAS WHARTON,

                         Defendants.
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      TEMPORARY RESTRAINING ORDER AND ORDER TO SHOW CAUSE FOR A
                       PRELIMINARY INJUNCTION

         Upon review of the expedited motion for a Temporary Restraining Order and

  Order to Show Cause for a Preliminary Injunction of Plaintiffs Gilead Sciences, Inc. and

  Gilead Sciences Ireland UC (together, “Gilead”), the memorandum of law submitted in

  support of Gilead’s motion, the accompanying declarations and the exhibits annexed

  thereto, and the complaint, and for good cause shown, it is hereby:

         ORDERED that for the reasons set forth in Gilead’s expedited motion for entry of

  a Temporary Restraining Order and papers submitted in support thereof, Gilead’s

  request is GRANTED; and it is further

         ORDERED that, pending further order of this Court, Defendants AJC Medical

  Group, Inc.; Alliance Medical Center, Inc.; Allied Health Organization, Inc.; Baikal

  Marketing Group, Inc.; A Better You Wellness Center, LLC; 3rd Step Recovery Group,

  Inc. d/b/a Continental Wellness Center; Community Health Medical Center LLC; Doctors

  United, Inc. d/b/a Doctors United Group; Florimed Medical Center Corp.; Juan Jesus

  Salina, M.D. Corp.; Labs4Less LLC; Physician Preferred Pharmacy, Inc.; Positive

  Health Alliance, Inc.; Priority Health Medical Center, Inc.; Testing Matters Inc.; United

  Clinical Laboratory LLC; United Pharmacy LLC; Well Care LLC; Tamara Alonso; Jean

  Alexandre; Chenara Anderson; Myriam Augustine; Twiggi Batista; Arsen Bazylenko;

  Michael Bogdan; Barbara Bryant; Augustine Carbon; Jennifer John Carbon; Khadijah

  Carbon; Alejandro Castro; John Catano; Jean Charlot; Shonta Darden; Alexander

  Evans; Maria Freeman; Jesula Gabo; Shajuandrine Garcia; Barbara Gibson; Kerline

  Joseph; Viergela Joseph; Gary Kogan; Cassandra Louissaint; Cora Mann; Nick Myrtil;

  Ifeoma Nwofor; Erik Joseph Pavao; Willie Peacock; Michael Pierce; Michel Poitevien;
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  Jean Rodney; Tatiana Rozenblyum; Juan Jesus Salina; Dimitry Shaposhnikov; Roman

  Shekhet; Kirill Vesselov; Mikhail Vesselov; and Tomas Wharton (collectively,

  “Defendants”) and their principals, agents, officers, directors, members, servants,

  employees, successors, assigns and all other persons in concert and participation with

  them (together with Defendants, the “Restrained Parties”), shall, upon service of this

  Order in the manner described below, be immediately temporarily restrained from:

         1.     Enrolling or seeking to enroll in Gilead’s Advancing Access® Patient

  Assistance Program (“PAP”) or Medication Assistance Program (“MAP”) any individual

  who has been prescribed TRUVADA® or DESCOVY®;

         2.     Seeking or accepting reimbursements, either directly or indirectly, for any

  TRUVADA® or DESCOVY® dispensed to any individual enrolled in Gilead’s PAP or

  MAP;

         3.     Dispensing TRUVADA® or DESCOVY® to individuals in packaging other

  than original, unopened containers from the manufacturer;

         4.     Dispensing TRUVADA® or DESCOVY® to individuals unaccompanied by

  its FDA-approved labeling, package insert, lot number, serialization number, or

  expiration date;

         5.     Selling, purchasing, or otherwise obtaining, TRUVADA® or DESCOVY®

  that had previously been filled or dispensed;

         6.     Removing from their premises, or discarding, destroying, transferring or

  disposing in any manner, any information, computer files, electronic files, WhatsApp or

  text messages, business records (including but not limited to e-mail communications) or




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  other documents relating to Defendants’ assets and operations or relating in any way to

  any of the activities referred to in subparagraphs (1) through (5) above; and

         7.     Assisting, aiding or abetting any other person or business entity in

  engaging in or performing any of the activities referred to in subparagraphs (1) through

  (6) above; and it is further

         ORDERED that the temporary restraining order as set forth in subparagraphs (1)

  through (7) above shall be in effect for a period of 14 days from the entry hereof, after

  which it shall expire absent further order of the Court; and it is further

         ORDERED that the Restrained Parties shall make arrangements to turn over to

  Gilead, or any person or entity designated by Gilead, within 3 business days of the entry

  of this order all TRUVADA® or DESCOVY® that is in the Restrained Parties’ possession,

  custody or control and that either (a) is no longer in its original, unopened container

  from the manufacturer, or (b) that had previously been filled or dispensed, to be held by

  Gilead until further order of this Court; and it is further

         ORDERED that within five (5) business days of the entry of this Order to Show

  Cause, Gilead shall post an undertaking with the Clerk of the Court in the form of a

  bond, cash or check in the amount of $25,000.00 as security for the payment of such

  costs and damages as may be incurred or suffered by any party as a result of any

  undue harm caused by this Order to Show Cause; and it is further

         ORDERED that service of the Summons and Complaint and of this Order to

  Show Cause, together with copies of the papers in support thereof, shall be made by

  delivering true copies thereof to any person of suitable age found at Defendants’




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  business or home addresses, or if no persons are present, by fixing a copy to the door,

  and that such service shall be deemed sufficient service; and it is further

          ORDERED that Defendants shall show cause before this Court on a telephonic

  hearing scheduled for November 16, 2020 at 10:00 AM why a preliminary injunction,

  pursuant to Rule 65 of the Federal Rules of Civil Procedure, should not be issued

  enjoining Defendants and the Restrained Parties in the manner set forth in

  subparagraphs (1)–(7) of this Order for the duration of this litigation. The Court will

  provide the Parties with dial-in instructions at a later time. It is further;

          ORDERED, that answering papers, if any, be filed by the Defendants with this

  Court and served by email upon Gilead’s counsel, Patterson Belknap Webb & Tyler

  LLP, at gpotter@pbwt.com and prepfraud@pbwt.com, and Squire Patton Boggs, at

  franklin.monsour@squirepb.com, on or before 12:00 PM on November 11th, 2020, and

  reply papers shall be filed and served by 5:00 PM on November 13, 2020. It is further;

          ORDERED, that the Defendants are hereby put on notice that failure to attend

  the show cause hearing scheduled may result in the immediate issuance of the

  preliminary injunction, and that failure of the Defendants to respond to the Order to

  Show Cause by 12:00 PM on November 11th, 2020 may result in the issuance of a

  preliminary injunction.

          It is ORDERED AND ADJUDGED that Defendants shall serve a copy of this Order

  to Defendants immediately and file a certificate of service on the docket confirming such

  service.

          DONE AND ORDERED in Chambers in Miami, Florida, this 3rd day of November,

  2020.


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